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IN THE UNITED STATES DISTRICT COURT 05 JUPJ _3 PH lz: h3
FOR THE WESTERN DISTRICT OF TENNESSEE `

WESTERN DIVISION ROBEHT F: Ui TBOL!O
CIERZ~{. US. BSST.CT
mm dr w i.r.§;MPH;S

UNITED STATES OF AMERICA,

Plaintit`f, Case No.: 04-20010 D

V.
UNDRlA WILLlAMS,

Defendant.

 

ORDER GRANTING MOTION TO EXTEND SURRENDER DATE

 

lt appearing to the court for good cause Shown, that Defendant’S motion to extend the

surrender date is well-taken, it is therefore

ORDERED, ADJUDGED AND DECREED that Defendant is granted a 60 day surrender

date from June 15, up to and including August 15, 2005.

  
     

IT ls so 0RDERED this 3@( day 0

B NICE BOUIE DONALD
ITED STATES DISTRICT IUDGE

 

   

UNITED sATE DSTIIC COURT - WESTERN DISTRCT oFrENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-200]0 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

